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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

DELJUAN PRETTYMAN,                             }
                                               }
       Petitioner,                             }
                                               }
v.                                             }         Case No.: 5:04-CR-63-RDP-RRA
                                               }
UNITED STATES OF AMERICA ,                     }
                                               }
       Respondent.                             }


     MEMORANDUM OF DECISION REGARDING ORDER DENYING MOTION TO
                  REDUCE TERM OF IMPRISONMENT

       This case is before the court on pro se Petitioner Deljuan Prettyman’s Motion to Modify

Term of Imprisonment (Doc. #86) filed May 16, 2008.         Petitioner Prettyman files his motion

pursuant to 18 U.S.C. § 3582(c)(2) requesting that this court modify or reduce his sentence based

on a guideline sentencing range that has subsequently been lowered and made retroactive by the

United States Sentencing Commission pursuant to 28 U.S.C. § 994(u). For the reasons stated herein,

the court concludes that Petitioner’s motion for reduction of sentence is due to be denied.

I.     Background

       In May 2007, the U. S. Sentencing Commission (“Sentencing Commission”) submitted a

group of proposed amendments to the Sentencing Guidelines as they have done annually since 1987.

One of these amendments, Amendment 706 (hereinafter referred to as the “Crack Amendment”),

represented the Sentencing Commission’s attempt to mitigate the sentencing disparity for defendants

convicted of crack cocaine offenses as opposed to powder cocaine offenses. See United States

Sentencing Comm’n, Report to Congress: Cocaine and Federal Sentencing Policy (May 2007) (the
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“2007 Report”); see also Kimbrough v. United States, 128 S.Ct. 558, 569 (2007) (describing

Commission’s amendments to Sentencing Guidelines). In the absence of Congressional action to

amend the 100:1 ratio found in the Title 21 statutes, the Sentencing Commission proposed a method

to reduce the potential sentences by lowering the applicable guidelines for quantities of crack by two

levels, the base offense level assigned to each threshold quantity of crack listed in the Drug Quantity

Table in Guideline § 2D1.1. See U.S.S.G. § 2D1.1 (Nov. 1, 2007); U.S.S.G. Supp. To App’x C,

Amend. 706.

       All of the proposed amendments, including the Crack Amendment, became effective on

November 1, 2007. In December 2007, following a period of public discussion, the Sentencing

Commission voted to apply the Crack Amendment retroactively to cases decided before November

1, 2007. The effective date for retroactive application of the Crack Amendment was March 3, 2008.

The Sentencing Commission also amended Guideline § 1B1.10 to include the Crack Amendment

(hereinafter referred to as the “Amended Policy Statement”). Thus, as of March 3, 2008, the Crack

Amendment and Amended Policy Statement apply to all relevant sentences, old and new. All of this

was accomplished pursuant to the Sentencing Commission’s authority found at 28 U.S.C. § 994(u)

and 18 U.S.C. § 3582(c).

II.    Analysis

       With that background, the court now turns to the current motion (Doc. #86) filed by

Petitioner to modify his term of imprisonment under 18 U.S.C. § 3582(c)(2). Petitioner’s motion

seeks the benefit of the Crack Amendment and the Amended Policy Statement.




                                                  2
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         The focus of Petitioner’s § 3582(c)(2) motion is the 240-month1 sentence imposed upon him

on November 2, 2004 under Counts One, Three, Four, and Five.2 Petitioner pleaded guilty to these

charges and was sentenced to the statutory minimum sentence. 21 U.S.C. §§ 841(b)(1)(A), 851.

         The following chart sets forth the application of the Crack Amendment and the Amended

Policy Statement as to the instant case:

                                                    Original Sentence                     Retroactive Sentence
                                                                                              Adjustment
 Total Offense Level                       31                                           29
 Criminal History Category                 IV                                           IV
 Imprisonment Range                        240 months                                   240 months


III.     Decision

         Because the Crack Amendment and Amended Policy Statement did not (and could not) have

any effect on the statutory minimum penalty set by Congress, this court finds that Petitioner is not

eligible for a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2) and U.S.S.G § 1B1.10.3

Specifically, U.S.S.G § 1B1.10 removes from consideration those defendants who were sentenced

to a statutory minimum sentence.4

         1
          The government had previously filed an Information pursuant to 21 U.S.C. § 851 based on a prior conviction
in Morgan County, case number CC-96-1073, which enhanced the penalty in Counts One and Three to not less than 20
years (240 months) and not more than Life.

         2
         Petitioner was sentenced to 20 years (240 months) in Counts Four and Five pursuant to 21 U.S.C. §
841(b)(1)(C).

         3
            U.S.S.G. § 1B1.10(a)(2)(B) states as follows: “Exclusions. – A reduction in the defendant’s term of
imprisonment is not consistent with this policy statement and therefore is not authorized under 18 U.S.C. § 3582(c)(2)
if – . . . (B) an amendment listed in subsection (c) does not have the effect of lowering the defendant’s applicable
guideline range.”

         4
          U.S.S.G. § 1B1.10, comment.(n.1.(A)(ii) ) states as follows: “Eligibility. – Eligibility for consideration . . . is
triggered only by an amendment . . . that lowers the applicable guideline range. Accordingly, a reduction in the

                                                             3
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         According, Petitioner’s Motion to Modify Term of Imprisonment is due to be denied. A

separate order will be entered in accordance with the court’s decision.

IV.      Notice of Appeal Rights

         Should Petitioner consider an appeal of the court’s decision, a § 3582(c)(2) motion is a

continuation of the criminal proceeding; therefore, a notice of appeal must be filed within ten (10)

days from the entry of the judgment or order being appealed. See, United States v. Fair, 326 F.3d

1317, 1318 (11th Cir. 2003); United States v. Starks, 2008 WL 351386 (11th Cir. 2008);

Fed.R.App.P. 4(b)(1)(A)(i). If Petitioner was represented by appointed counsel at trial or on appeal,

Petitioner is not required to file a new application to proceed in forma pauperis on appeal from the

denial of the § 3582(c)(2) motion. If Petitioner was represented by retained counsel at trial or on

direct appeal but believes he is now unable to afford counsel, Petitioner should file an application

to proceed in forma pauperis (accompanied by a certified copy of prison account statements for the

last six months) when he files his notice of appeal from the denial of the § 3582(c)(2) motion. The

Clerk is DIRECTED to provide Petitioner with an application to proceed in forma pauperis form.

         DONE and ORDERED this                   11th          day of August, 2008.


                                                               ___________________________________
                                                               R. DAVID PROCTOR
                                                               UNITED STATES DISTRICT JUDGE




defendant’s term of imprisonment is not authorized . . . if (ii) an amendment is applicable to the defendant but the
amendment does not have the effect of lowering the defendant’s applicable guideline range because of the operation of
another guideline or statutory provision (e.g., a statutory mandatory minimum term of imprisonment).” (Emphasis
added).




                                                         4
